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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 MCALLEN DIVISION

 UNITED STATES OF AMERICA,             §
                                       §
                     Plaintiff,        §
                                       §
 v.                                    §        CASE NO. 7:20-CV-018
                                       §
 111.52 ACRES OF LAND, MORE            §
 OR LESS, SITUATE IN HIDALGO           §
 COUNTY, STATE OF TEXAS; AND           §
 DANIEL YTURRIA BUTLER, ET AL.,        §
                                       §
                    Defendants.        §
______________________________________________________________________________

                       COMPLAINT IN CONDEMNATION
______________________________________________________________________________

        1.      This is a civil action brought by the United States of America at the request of the

Secretary of the Department of Homeland Security, through the Acquisition Program Manager,

Wall Program Management Office, U.S. Border Patrol Program Management Office Directorate,

U.S. Border Patrol, U.S. Customs and Border Protection, Department of Homeland Security, for

the taking of property under the power of eminent domain through a Declaration of Taking, and

for the determination and award of just compensation to the owners and parties in interest.

        2.      The Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.§

1358.

        3.      The interest in property taken herein is under and in accordance with the authority

set forth in Schedule “A.”

        4.      The public purpose for which said interest in property is taken is set forth in

Schedule “B.”

        5.      The legal description and map or plat of land in which certain interests are being

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                                          ROE Complaint
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acquired by the filing of this Complaint, pursuant to the Declaration of Taking, are set forth in

Schedules “C” and “D.”

       6.      The interest being acquired in the property described in Schedules “C” and “D” is

set forth in Schedule “E.”

       7.      The amount of just compensation estimated for the property interest being acquired

is set forth in Schedule “F.”

       8.      The names and addresses of known parties having or claiming an interest in said

acquired property are set forth in Schedule “G.”

       9.      Local and state taxing authorities may have or claim an interest in the property by

reason of taxes and assessments due and eligible.

       WHEREFORE, Plaintiff requests judgment that the interest described in Schedule “E” of

the property described in Schedules “C” and “D” be condemned, and that just compensation for

the taking of said interest be ascertained and awarded, and for such other relief as may be lawful

and proper.

                                                      Respectfully submitted,

                                                      RYAN K. PATRICK
                                                      United States Attorney
                                                      Southern District of Texas

                                              By:     s/ Megan Eyes
                                                      MEGAN EYES
                                                      Assistant United States Attorney
                                                      Southern District of Texas No. 3135118
                                                      Florida Bar No. 0105888
                                                      1701 W. Bus. Highway 83, Suite 600
                                                      McAllen, TX 78501
                                                      Telephone: (956) 618-8010
                                                      Facsimile: (956) 618-8016
                                                      E-mail: Megan.Eyes@usdoj.gov
                                                      Attorney-in-Charge for Plaintiff


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  SCHEDULE
     A
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                                       SCHEDULE A

                             AUTHORITY FOR THE TAKING


        The property is taken under and in accordance with 40 U.S.C. $$ 31 13 and 31 14,

which authorize the condemnation of land and the filing of a Declaration of Taking; the

Act of Congress approved September 30, 1996, as Public Law 104-208, Division                  C,

Section 102, 1.10 Stat. 3009-546,3009-554-55, as amended and codified at 8 U.S.C.              g


1103(b) & note; and the Act ofCongress approved February 15,2019, as Public Law 116-

6, div. A, tit. II, Section 230, which appropriated the funds that shall be used for the taking.
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  SCHEDULE
      B
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                                      SCHEDULE B

                                    PUBLIC PURPOSE



       The public purpose for which said property is taken is to conduct surveying, testing,

and other investigatory work needed to plan the proposed construction of roads, fencing,

vehicle barriers, security lighting, cameras, sensors, and related structures designed to help

secure the United States/lr4exico border   within the State of Texas.
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  SCHEDULE
     C
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                                         SCHEDULE C

                                    LEGAL DESCRIPTION

                                    Hidalgo County, Texas

Tract: RGV-MCS-I213
Owner: Daniel Yturria Butler,   er a/.
Acres: 1 I 1.52

As identified in the Indenture created March 11, 1953, Document #1953-6019, recorded
on April 11, 1953 in the deed records of Hidalgo County:

                                1  Out of Tract N                    111.52
                     Beginning at the interesection of the
                     East line of Porcion No. 44, and the
                     South right ofway of the St. L. B. &
                     M. Railroad, the N. E. comer of Tract
                     No. 6 for the N. E. comer hereof:

                     THENCE with fence and East line of
                     porcionNo.44, S. 9-13'W.4101.4 ft.
                     to a point on the North bank of the Rio
                     Grande, the S. E. comer ofporcion No.
                     44 and Tract No. 6, for the S. E. comer
                     hereof;

                     THENCE with the meanders of the Rio
                     Grande as follows; N. 82-45' W. 398.0
                     ft., S. 71-05' w.307.2 ft., S. 57-24'
                     W. 508.4 ft. and S. 38-49' W. 106.5 ft.
                     to a pipe, the S. E. comer ofShare 2-C
                     for the S. W. comer hereof;

                     THENCE with the East line of Share
                     No. 2-C, N. 9-13' E. 4974.4 ft. to a pipe
                     in the South right of way of the St. L.
                     B. & M. Railroad, the N. E. comer of
                     Share 2-C, for the N. W. comer hereof;

                     THENCE with the South right of way of
                     the St. L.B. & M. Railroad, as follows;
                     s. 68-42' E.82.7 ft... S. 66-53' E. 197.8 ft.
                     and S. 66-08' E. 855.2 ft. to the place of
                     beginning.
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  SCHEDULE
      D
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                                                                         SCHEDULE D

                                                                          MAP or PLAT
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                                                               LAND TO BE CONDEMNED

                    Tract: RGV-MCS-I213
                    Owner: Daniel Yturria Butler,              er a/.
                    Acreage:111.52
                     * The   case caption identifies acreage for the entire parent tract; access to the entire parent
                    tract may be necessary to complete a survey ofthe proposed tract outlined in red on the
                    map above.
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   SCHEDULE
       E
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                                       SCHEDULE E

                                      ESTATE TAKEN

                                   Hidalgo County, Texas

Tract: RGV-MCS-1213
Owner: Daniel Yturria Butler, e, d/.
Acres: 1 I 1.52

        The estate taken is a temporary, assignable easement beginning on the date
possession is granted to the United States and ending 12 months later, consisting        of the
right ofthe United States, its agents, conttactors, and assigns to enter in, on, over and across

the land described in Schedule C to survey, make borings, and conduct other investigatory

work for the purposes described in Schedule B and to access adjacent lands; including the

right to trim or remove any vegetative or structural obstacles that interfere with said work;

reserving to the landowners, their successors and assigns all right, title, and privileges as

may be used and enjoyed without interfering with or abridging the rights hereby acquired;

subject to minerals and rights appurtenant thereto, and to existing easements for public

roads and highways, public utilities, railroads and pipelines.
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    SCHEDULE
        F
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                                     SCHEDULE F

                                        JUST




   The sum estimated as just compensation for the land being taken is ONE HUNDRED

DOLLARS AND NO/100 ($100.00), to be deposited herewith in the Registry of the Court

for the use and benefit of the persons entitled thereto; and, an additional sum determined

at the conclusion of the temporary estate described in Schedule E to constitute actual

damages,   if   any.
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     SCHEDULE
        G
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                                     SCHEDULE G

                                 INTERESTED PARTIES

The following table identifies all persons who have or claim an interest in the property
condemned and whose names are now known, indicating the natue ofeach person's
property interest(s) as indicated by references in the public records and any other
information available to the United States. See Fed. R. Civ. P. 71.1(c).

 Interested Party                              Reference
 Daniel Yturria Butler, a/k/a Daniel Y.        Special Warranty Distribution Deed,
 Butler                                        Document 2009 -1983 47 2, Recorded
 P.O. Boxl208                                  March 26, 2009, Deed Records of Hidalgo
 Brownsville, TX 7 8522- 1208                  County


 Richard Earl Butler,   ll,   alUa Richard     Special Warranty Distribution Deed,
 E. Butler                                     Document 2009 -1983472, Recorded
                                               March 26,2009, Deed Records of Hidalgo
 Harlingen, TX                                 County


 Daniel Y Butler Trust, Daniel Yturria         Corrective Deed, Document 2009-
 Butler, Trustee                               2036232, Recorded September 21, 2009,
 P.O. Box 705                                  Deed Records of Hidalgo County
 Raymondville, TX 785 80-0705


 Christine Yturria Buford                      Special Warranty Deed, Document 2009-
                                               200036, Recorded on May 20, 2009, Deed
 Harlingen, TX                                 Records of Hidalgo County



 Francisca Yturria Wittenbach                  Special Wananty Deed, Document 2009-
                                               200036, Recorded on May 20, 2009, Deed
 Harlingen, TX                                 Records of Hidalgo County



 Daniel Y. Butler and Richard E. Butler,       Conveyance Assignment Transfer and
 II, Co-Trustees of the Leonora Yturria        Funding Agreement, Document 2010-
 Wood Testamentary Exempt Trust                2096022, Recorded April 21,2010, Deed
 f/b/o Daniel Y. Butler, and of the            Records of Hidalgo County
 Leonora Yturria Wood Testamentary
 Non-Exempt Trust f/b/o Daniel Y.
 Butler, and of the Leonora Yturria
 Wood Testamentarv Exempt Trust
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f/b/o Richard E Butler II, and of the
Leonora Yturria Wood Testamentary
Non-Exempt Trust f/b/o Richard E.
Butler II,
PO Box 1208
Brownsville, TX 78522-1208
                             Case 7:20-cv-00018 Document 1-2 Filed on 01/24/20 in TXSD Page 1 of 1
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                                                                                                                                            of Texas; and Daniel Yturria Butler, et al.
     (b)      County ofResidence ofFirst Lisred Plaintiff                                                                                    County ofResidence ofFirst Listed Defendant Hidalgo
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     (c)     Attomeys /4,/u NdDc. AL       lress, andtclephone         N,hher)                                                                    AttofieYs (lf K"d'n)

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